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IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

 

JULIE ELLEN WARTLUFT F/K/A JULIE
ELLEN BARTELS AND FREDERICK L.
BARTELS, JR., Individually and as
Administrators of the Estate of Abrielle Kira
Bartels, Deceased,

C.A. NO.:
1:16-cv-02145-CCC

 

Plaintiffs,
vs. om (CONNER, C.J.)
THE MILTON HERSHEY SCHOOL, FILED
and _ HARRISBURG, PA _
THE HERSHEY TRUST COMPANY, AS
TRUSTEE OF THE MILTON HERSHEY JUN 22 2018
SCHOOL TRUST, : PER
Defendants. DEPUTY CLERK

 

DEFENDANTS’ MOTION FOR LEAVE TO
FILE DOCUMENTS UNDER SEAL

Defendants, The Milton Hershey School, and The Hershey Trust Company
(“HTC”), as Trustee of the Milton Hershey School Trust. (collectively
“Defendants”), by and through their undersigned counsel, hereby move under
Local Rule 5.8 to file their Memorandum of Law in Support of Motion for
Summary Judgment, Statement of Undisputed Facts, and Exhibits in Support
thereof under seal. The documents which Defendants seek to file under seal are

provided at Exhibit “A” in Defendants’ sealed envelope marked “Documents

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pending sealing decision” provided to the Clerk contemporaneous with the filing of
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this Motion. Included in that sealed envelope is a Proposed Order granting

 
 

 

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Defendants’ Motion to Seal and Defendants’ Memorandum of Law in Support of
Their Motion to Seal. |For all the reasons set forth in Defendants’ Memorandum of

Law in Support of this Motion, which is incorporated herein by reference, this

Court should grant Defendants’ motion to file the documents under seal.

 

(PA 82629)

Kyle M. Elliott, Esquire

(PA 306836)

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Counsel for Defendants
Date: June 22, 2018
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CERTIFICATE OF CONCURRENCE
I, undersigned counsel, certify that counsel for Plaintiffs concurs with the

Motion.

 

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SS 2>

Jarad W. Handelman, Esquire

 

Dated: June 22, 2018 |
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CERTIFICATE OF SERVICE

I, Jarad W. Handelman, Esquire, hereby certify that I caused the foregoing to
be served via first class mail and electronic mail upon all counsel of record,
including:

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John J. Higson, Esquire
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Counsel for Plaintiffs

  
 

 

Jarad W. Handelman, Esquire
Dated: June 22, 2018
